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                        EXHIBIT A
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                             PROBATE COURT OF CUYAHOGA COUNTY, OHIO
                                        ANTHONY J. RUSSO, PRESIDING JUDGE
                                            LAURA J. GALLAGHER, JUDGE



ESTATE OF: MAALIK ROQUEMORE DECEASED

Case Number: 2023EST277042


                ENTRY APPOINTING FIDUCIARY; LETTERS OF AUTHORITY
                                           (For Executors and all Administrators)

Name of Fiduciary: KIMBERLY ROQUEMORE
         On hearing in open court the application of the above fiduciary for authority to administer decedent's estate, the
Court finds that:

        Decedent died (check one of the following)
           testate
           intestate

        on 09/05/2022, domiciled in CLEVELAND, OH 44110.

        (Check one of the following)
           Bond is dispensed with by the Will

            Bond is dispensed with by law

           Applicant has executed and filed an appropriate bond, which is approved by the Court; and

        Applicant is a suitable and competent person to execute the trust.

       The court therefore appoints applicant as such fiduciary, with the power conferred by law to fully administer
decedent's estate. This entry of appointment constitutes the fiduciary's letters of authority.




 06/15/2023
 Date appointed                                                  JUDGE LAURA J. GALLAGHER

                                  CERTIFICATE OF APPOINTMENT AND INCUMBENCY

         The above document is a true copy of the original kept by me as custodian of the records of this Court. It
constitutes the appointment and letters of authority of the named fiduciary, who is qualified and acting in such capacity.

                                                                 ANTHONY J. RUSSO, PRESIDING JUDGE
                         (Seal)




                                                                 Deputy Clerk

                                                                 06/15/2023
                                                                 Issue Date
                                                                                                     EXHIBIT "A"
                                                ISSUED 06/16/2023 08:06:28 BY: SIL
                                  ES4-5 - ENTRY APPOINTING FIDUCIARY; LETTERS OF AUTHORITY
                                                                                                                   (07/01/1977)
